          Case 23-11283-pmm                       Doc 14        Filed 05/22/23 Entered 05/22/23 16:31:58                                      Desc Main
                                                               Document     Page 1 of 27
 Fill in this information to identify your case and this filing:
 Debtor 1             Samuel                                            Delacruz
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number          23-11283
 (if known)                                                                                                                  Check if this is an
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

      No. Go to Part 2.
      Yes. Where is the property?
2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
                                                                                                                                     
     entries for pages you have attached for Part 1. Write that number here.............................................................                  $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
      Yes
3.1.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                         Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                    Yukon Denali                 Debtor 1 only
Year:                     2016                         Debtor 2 only                            Current value of the                      Current value of the
                                                                                                 entire property?                          portion you own?
Approximate mileage: 165,000
                                                       Debtor  1 and Debtor  2 only
                                                       At least one of the debtors  and another            $19,697.00                              $19,697.00
Other information:
2016 GMC Yukon Denali (approx.                         Check if this is community property
165,000 miles) Value is determined by                      (see instructions)
average of Trade-In ($19,107) and
Private Party ($20,287) sale per
kbb.com= $19,697




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 1
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Debtor 1      Samuel Delacruz                                                                       Case number (if known)         23-11283

3.2.                                                  Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Mercedes                    Check one.                                          amount of any secured claims on Schedule D:
                                                                                                          Creditors Who Have Claims Secured by Property.
Model:                    CLM                          Debtor 1 only
Year:                     2019                         Debtor 2 only                            Current value of the                      Current value of the
                                                                                                 entire property?                          portion you own?
Approximate mileage: 100,000
                                                       Debtor  1 and Debtor  2 only
                                                       At least one of the debtors  and another            $22,867.00                              $22,867.00
Other information:
2019 Mercedes CLM (approx. 100,000                     Check if this is community property
miles). Value is the average of the                        (see instructions)
trade-in ($20,535) and private party
sale ($25,199)= $22,867
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
                                                                                                                                     
     entries for pages you have attached for Part 2. Write that number here.............................................................            $42,564.00


 Part 3:        Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

      No
      Yes. Describe............
                           HHG and furnishings typical of a large family                                                                              $1,000.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

      No
      Yes. Describe............
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

      No
      Yes. Describe............
9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

      No
      Yes. Describe............
10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

      No
      Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Samuel Delacruz                                                                                                 Case number (if known)                  23-11283

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       No
       Yes. Describe............
                            Clothing, accessories and footwear                                                                                                                                           $300.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

       No
       Yes. Describe............
                            wedding ring                                                                                                                                                                 $500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

       No
       Yes. Describe............
14. Any other personal and household items you did not already list, including any health aids you
    did not list

       No
       Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                       
    attached for Part 3. Write the number here.......................................................................................................................                                 $1,800.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

       No
       Yes.....................................................................................................................................................................................................
                                                                                                                                                 Cash: ...........................................               $20.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

       No
       Yes..............................                      Institution name:

             17.1.       Checking account:                     Checking account - Citizen's Bank xx0950 - overdrawn
                                                               ($150.00)                                                                                                                                     $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       No
       Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                page 3
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Debtor 1        Samuel Delacruz                                                                    Case number (if known)   23-11283

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

      No
      Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                  % of ownership:

                                            Double Platinum Enterprise (S Corp) dba Double
                                            Platinum Barbershop                                                     100%                      $0.00
                                            SDGM, LLC                                                               50%                       $0.00
                                            Overlord Real Estate Holdings, LLC                                      100%                      $0.00
                                            Berks Barber School, LLC
                                            formed in 4/25/2018                                                     100%                      $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      No
      Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

      No
      Yes. List each
           account separately.           Type of account:           Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

      No
      Yes..............................                         Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

      No
      Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

      No
      Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

      No
      Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      No
      Yes. Give specific
           information about them


Official Form 106A/B                                                      Schedule A/B: Property                                              page 4
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Debtor 1        Samuel Delacruz                                                                 Case number (if known)    23-11283

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you

      No
      Yes. Give specific information                                                                                    Federal:
           about them, including whether
           you already filed the returns                                                                                 State:
           and the tax years.....................................
                                                                                                                         Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      No
      Yes. Give specific information                                                                       Alimony:

                                                                                                            Maintenance:

                                                                                                            Support:

                                                                                                            Divorce settlement:

                                                                                                            Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

      No
      Yes. Give specific information Owed from Gary Mengel/Mengle Holdings:                                                                 $54,000.00
                                                      For Property Management - $54,000

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

      No
      Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                             Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

      No
      Yes. Give specific information
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

      No
      Yes. Describe each claim..............
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

      No
      Yes. Describe each claim..............
35. Any financial assets you did not already list

      No
      Yes. Give specific information


Official Form 106A/B                                                   Schedule A/B: Property                                                       page 5
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Debtor 1         Samuel Delacruz                                                                                     Case number (if known)             23-11283

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                       
    attached for Part 4. Write that number here.......................................................................................................................    $54,020.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

       No
       Yes. Describe................
39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

       No
       Yes. Describe................
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe................
41. Inventory

       No
       Yes. Describe................
42. Interests in partnerships or joint ventures

       No
       Yes. Describe................
                            Name of entity:                                                                                           % of ownership:

43. Customer lists, mailing lists, or other compilations

       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
              No
              Yes. Describe..............
44. Any business-related property you did not already list

       No
       Yes. Give specific information.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                       
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1         Samuel Delacruz                                                                                     Case number (if known)             23-11283


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

       No
       Yes............................
48. Crops--either growing or harvested

       No
       Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       No
       Yes..............................
50. Farm and fishing supplies, chemicals, and feed

       No
       Yes..............................
51. Any farm- and commercial fishing-related property you did not already list

       No
       Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                       
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

       No
       Yes. Give specific information.
                                                                                                                                 
54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                    
55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $42,564.00

57. Part 3: Total personal and household items, line 15                                                               $1,800.00

58. Part 4: Total financial assets, line 36                                                                         $54,020.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $98,384.00              property total                +          $98,384.00


63. Total of all property on Schedule A/B.                                                                                                                                                    $98,384.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
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 Fill in this information to identify your case:
 Debtor 1            Samuel                                      Delacruz
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA
                                                                                                                 Check if this is an
 Case number         23-11283                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $19,697.00              $0.00                 11 U.S.C. § 522(d)(2)
2016 GMC Yukon Denali (approx. 165,000                                        100% of fair market
miles) Value is determined by average of                                          value, up to any
Trade-In ($19,107) and Private Party                                              applicable statutory
($20,287) sale per kbb.com= $19,697                                               limit
Line from Schedule A/B: 3.1

Brief description:                                         $22,867.00              $0.00                 11 U.S.C. § 522(d)(2)
2019 Mercedes CLM (approx. 100,000                                            100% of fair market
miles). Value is the average of the trade-in                                      value, up to any
($20,535) and private party sale ($25,199)=                                       applicable statutory
$22,867                                                                           limit
Line from Schedule A/B: 3.2




3.   Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

      No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Samuel Delacruz                                                        Case number (if known)   23-11283

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,000.00           $1,000.00              11 U.S.C. § 522(d)(3)
HHG and furnishings typical of a large                                   100% of fair market
family                                                                       value, up to any
Line from Schedule A/B: 6                                                    applicable statutory
                                                                             limit

Brief description:                                       $300.00             $300.00               11 U.S.C. § 522(d)(3)
Clothing, accessories and footwear                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00             $500.00               11 U.S.C. § 522(d)(4)
wedding ring                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00               $20.00               11 U.S.C. § 522(d)(5)
Cash on hand                                                             100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00               $0.00                11 U.S.C. § 522(d)(5)
Checking account - Citizen's Bank xx0950                                 100% of fair market
- overdrawn ($150.00)                                                        value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Samuel                                       Delacruz
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          23-11283
  (if known)                                                                                                       Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below.
  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B                Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral     Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this      portion
        creditor's name.                                                                 value of collateral    claim                   If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $29,219.00              $19,697.00           $9,522.00
Bank of America N.A.
Creditor's name
                                                 2016 GMC Yukon Denali
PO Box 45144
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Jacksonville             FL      32232            Unliquidated
City                     State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
 Check if this claim relates                        Automobile Loan
       to a community debt
Date debt was incurred           10/31/2019      Last 4 digits of account number        x     x    x    x




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $29,219.00

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
           Case 23-11283-pmm                  Doc 14      Filed 05/22/23 Entered 05/22/23 16:31:58                                 Desc Main
                                                        Document      Page 12 of 27
Debtor 1       Samuel Delacruz                                                            Case number (if known)      23-11283

                  Additional Page                                                     Column A               Column B                Column C
                                                                                      Amount of claim        Value of collateral     Unsecured
  Part 1:         After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this      portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                   If any

  2.2                                         Describe the property that
                                              secures the claim:                            $32,081.00              $22,867.00           $9,214.00
Mercedes-Benz Financial Services
Creditor's name
                                              2019 Mercedes-Benz
13650 Heritage Valley Parkway
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Ft. Worth               TX      76177          Unliquidated
City                    State   ZIP Code
                                               Disputed
Who owes the debt? Check one.                 Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
 Check if this claim relates               Automobile Loan
       to a community debt
Date debt was incurred          11/09/2019    Last 4 digits of account number         x    x    x    x




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $32,081.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $61,300.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2
            Case 23-11283-pmm                   Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                               Desc Main
                                                           Document      Page 13 of 27
  Fill in this information to identify your case:
  Debtor 1             Samuel                                       Delacruz
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          23-11283
  (if known)                                                                                                         Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

        No. Go to Part 2.
        Yes.
2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority            Nonpriority
                                                                                                                        amount              amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
City                           State    ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
 Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1
            Case 23-11283-pmm                    Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                                 Desc Main
                                                            Document      Page 14 of 27
Debtor 1       Samuel Delacruz                                                                  Case number (if known)      23-11283

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes
4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $9,658.00
American Express                                            Last 4 digits of account number         9     8    5    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           7/10/2018
PO Box 981537
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
El Paso                         TX      79998
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
 Debtor 1 only                                              Student loans
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
 Check if this claim is for a community debt                    Credit Card
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                        $20,048.00
Best Egg                                                    Last 4 digits of account number         x     x    x    x
Nonpriority Creditor's Name
                                                            When was the debt incurred?           3/14/2022
PO Box 42912
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Philadelphia                    PA      19101
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
  Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                  that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
 Check if this claim is for a community debt                    Personal Loan
Is the claim subject to offset?
 No
 Yes
Past Due $1,575 as of March 2023




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
           Case 23-11283-pmm                  Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                            Desc Main
                                                         Document      Page 15 of 27
Debtor 1       Samuel Delacruz                                                             Case number (if known)       23-11283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                $8,062.00
Citizen's Bank                                           Last 4 digits of account number       x    x    x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/12/2015
One Citizens Way
Number       Street                                      As of the date you file, the claim is: Check all that apply.
Mailstop JCA130                                           Contingent
                                                          Unliquidated
Johnston                      RI      02919
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
 No
 Yes
   4.4                                                                                                                                   $66.00
Comenity Bank - Express                                  Last 4 digits of account number      x x x           x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/30/2019
PO Box 182789
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Columbus                      OH      43218
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
 Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                              $17,982.00
Discover Bank                                            Last 4 digits of account number       x    x    x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/21/2007
PO Box 30939
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Salt Lake City                UT      84130
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
  Debtor 1 only                                          Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
 No
 Yes

Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3
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Debtor 1       Samuel Delacruz                                                             Case number (if known)       23-11283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.6                                                                                                                                $9,705.00
Home Depot/ CitiBank                                     Last 4 digits of account number       x    x    x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/02/2006
P.O. Box 6497
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Sioux Falls                   SD      57117
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                                $8,639.00
Lending Point LLC                                        Last 4 digits of account number      X X        X    X
Nonpriority Creditor's Name
                                                         When was the debt incurred?        1/2/2023
1201 Roberts Blvd. NW
Number       Street                                      As of the date you file, the claim is: Check all that apply.
STE 200                                                   Contingent
                                                          Unliquidated
Kennesaw                      GA      30144
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
 Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Credit Card
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
           Case 23-11283-pmm                  Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                            Desc Main
                                                         Document      Page 17 of 27
Debtor 1       Samuel Delacruz                                                             Case number (if known)       23-11283

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.8                                                                                                                              $66,268.00
Mohela/Dept. of Education                                Last 4 digits of account number       x    x    x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/14/2016
633 Spirit Drive
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Chesterfield                  MO      63005
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt
Is the claim subject to offset?
 No
 Yes
On Federal Forebearance until 60 days after June 30, 2023 pending SCOTUS decision.
   4.9                                                                                                                              $15,361.00
Sofi Lending Corp.                                       Last 4 digits of account number       x    x    x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        3/15/2022
2750 E Cottonwood Pkwy
Number       Street                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Cottonwood Heights            UT      84121
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
 Debtor 1 only                                           Student loans
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
 Check if this claim is for a community debt                Personal Loan
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
           Case 23-11283-pmm                  Doc 14          Filed 05/22/23 Entered 05/22/23 16:31:58                         Desc Main
                                                            Document      Page 18 of 27
Debtor 1       Samuel Delacruz                                                         Case number (if known)        23-11283

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d. +                   $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $66,268.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $89,521.00


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $155,789.00




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
          Case 23-11283-pmm                  Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                             Desc Main
                                                        Document      Page 19 of 27
 Fill in this information to identify your case:
 Debtor 1            Samuel                                     Delacruz
                     First Name           Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-11283
 (if known)                                                                                                     Check if this is an
                                                                                                                   amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
         Case 23-11283-pmm                 Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                                 Desc Main
                                                      Document      Page 20 of 27
 Fill in this information to identify your case:
 Debtor 1            Samuel                                     Delacruz
                     First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-11283
 (if known)                                                                                                        Check if this is an
                                                                                                                      amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?      (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
      Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        No
        Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                            Check all schedules that apply:




Official Form 106H                                        Schedule H: Your Codebtors                                                      page 1
            Case 23-11283-pmm                  Doc 14     Filed 05/22/23 Entered 05/22/23 16:31:58                                  Desc Main
                                                        Document      Page 21 of 27
 Fill in this information to identify your case:
     Debtor 1              Samuel                                     Delacruz
                           First Name           Middle Name           Last Name                         Check if this is:
     Debtor 2
     (Spouse, if filing)   First Name           Middle Name           Last Name                          An amended filing
     United States Bankruptcy Court for the:   EASTERN DIST. OF PENNSYLVANIA                             A supplement showing postpetition
                                                                                                             chapter 13 income as of the following date:
     Case number           23-11283
     (if known)
                                                                                                             MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                        Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status       Employed                                       Employed
      with information about                                    Not employed                                   Not employed
      additional employers.
                                        Occupation             Barber Instructor
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Double Platinum Barber Shop

      Occupation may include            Employer's address     905 N. 9th Street
      student or homemaker, if it                              Number Street                                   Number Street
      applies.
                                                               Reading, PA




                                                               City                      State    Zip Code     City                   State   Zip Code

                                        How long employed there?       22 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                         For Debtor 1            For Debtor 2 or
                                                                                                                 non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $3,345.00                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                     3. +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                4.             $3,345.00                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                             page 1
           Case 23-11283-pmm                               Doc 14          Filed 05/22/23 Entered 05/22/23 16:31:58                                                Desc Main
                                                                         Document      Page 22 of 27
Debtor 1        Samuel Delacruz                                                                                                  Case number (if known)       23-11283
                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse
                                                                                                          4.                    $3,345.00
     Copy line 4 here ...................................................................................................................                 $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.                  $0.00                    $0.00
     5b.   Mandatory contributions for retirement plans                                                     5b.                  $0.00                    $0.00
     5c.   Voluntary contributions for retirement plans                                                     5c.                  $0.00                    $0.00
     5d.   Required repayments of retirement fund loans                                                     5d.                  $0.00                    $0.00
     5e.   Insurance                                                                                        5e.                  $0.00                    $0.00
     5f.   Domestic support obligations                                                                     5f.                  $0.00                    $0.00
     5g.   Union dues                                                                                       5g.                  $0.00                    $0.00
     5h.   Other deductions.
           Specify:                                                                                         5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00                    $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $3,345.00                       $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                    $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                    $0.00
     8e. Social Security                                                                                    8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify: Property Rental Income                                                                    8h. +         $4,175.00                       $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.            $4,175.00                       $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $7,520.00          +            $0.00      =       $7,520.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.             $7,520.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                       Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             Civil cases could suspend Barber income for a period of time and eliminate the rental income
      Yes. Explain:


Official Form 106I                                                               Schedule I: Your Income                                                                          page 2
           Case 23-11283-pmm            Doc 14     Filed 05/22/23 Entered 05/22/23 16:31:58                      Desc Main
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Debtor 1     Samuel Delacruz                                                         Case number (if known)   23-11283


1.   Additional Employers Debtor 1                                            Debtor 2 or non-filing spouse

     Occupation           Real Estate Investor and Property Manager
     Employer's name      Overlord Real Estate Holdings, LLC
     Employer's address   905 N. 9th Street


                          Reading                     PA      19604
                          City                        State   Zip Code        City                            State   Zip Code

     How long employed there?        6 years




Official Form 106I                                  Schedule I: Your Income                                                  page 3
            Case 23-11283-pmm                   Doc 14         Filed 05/22/23 Entered 05/22/23 16:31:58                         Desc Main
                                                             Document      Page 24 of 27
 Fill in this information to identify your case:
                                                                                                       Check if this is:
     Debtor 1              Samuel                                              Delacruz                 An amended filing
                           First Name              Middle Name                 Last Name
                                                                                                        A supplement showing postpetition
                                                                                                           chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name              Middle Name                 Last Name                   following date:

     United States Bankruptcy Court for the:     EASTERN DIST. OF PENNSYLVANIA                             MM / DD / YYYY
     Case number           23-11283
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
                  No
                  Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?       No
      Do not list Debtor 1 and      Yes. Fill out this information Dependent's         relationship to
                                                                           Debtor 1 or Debtor 2
                                                                                                            Dependent's
                                                                                                            age
                                                                                                                                   Does dependent
                                                                                                                                   live with you?
                                               for each dependent...................................
      Debtor 2.
                                                                                         Spouse                                     No
      Do not state the dependents'
                                                                                                                                    Yes
      names.                                                                             Daughter                 19                No
                                                                                                                                    Yes
                                                                                         Daughter                 17                No
                                                                                                                                    Yes
                                                                                         Son                      15                No
                                                                                                                                    Yes
                                                                                         Daughter                 12                No
                                                                                                                                    Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?
                                                  Yes

 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                  Your expenses

4.    The rental or home ownership expenses for your residence.                                                  4.                    $14,500.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                      4a.

      4b. Property, homeowner's, or renter's insurance                                                           4b.

      4c. Home maintenance, repair, and upkeep expenses                                                          4c.                    $1,500.00
      4d. Homeowner's association or condominium dues                                                            4d.




 Official Form 106J                                                Schedule J: Your Expenses                                                 page 1
            Case 23-11283-pmm                Doc 14      Filed 05/22/23 Entered 05/22/23 16:31:58                  Desc Main
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Debtor 1      Samuel Delacruz                                                          Case number (if known)   23-11283
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $1,300.00
     6b. Water, sewer, garbage collection                                                           6b.                      $38.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $220.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $1,000.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.                      $14.00
11. Medical and dental expenses                                                                     11.

12. Transportation. Include gas, maintenance, bus or train                                          12.                     $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $1,200.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                    $200.00
     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                    $600.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.                    $800.00
     17b.   Car payments for Vehicle 2    Student Loan                                              17b.                    $800.00
     17c.   Other. Specify:                                                                         17c.                    $330.00
     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
           Case 23-11283-pmm               Doc 14       Filed 05/22/23 Entered 05/22/23 16:31:58                          Desc Main
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Debtor 1    Samuel Delacruz                                                                   Case number (if known)    23-11283
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.   Mortgages on other property                                                                       20a.

    20b.   Real estate taxes                                                                                 20b.

    20c.   Property, homeowner's, or renter's insurance                                                      20c.

    20d.   Maintenance, repair, and upkeep expenses                                                          20d.

    20e.   Homeowner's association or condominium dues                                                       20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.   Add lines 4 through 21.                                                                           22a.              $22,702.00
    22b.   Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                  22b.

    22c.   Add line 22a and 22b. The result is your monthly expenses.                                        22c.              $22,702.00

23. Calculate your monthly net income.

    23a.   Copy line 12 (your combined monthly income) from Schedule I.                                      23a.                  $7,520.00
    23b.   Copy your monthly expenses from line 22c above.                                                   23b.   –          $22,702.00
    23c.   Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c.             ($15,182.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

     No.
     Yes. Explain here:
               None.




 Official Form 106J                                        Schedule J: Your Expenses                                                   page 3
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Debtor 1    Samuel Delacruz                                             Case number (if known)   23-11283


2.   Additional Dependents:                             Dependent's relationship to    Dependent's    Does dependent
                                                        Debtor 1 or Debtor 2           age            live with you?

                                                        Son                            12              No
                                                                                                       Yes




 Official Form 106J                       Schedule J: Your Expenses                                           page 4
